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     M. Anderson Berry, Esq. (SBN 262879)
 1   Gregory Haroutunian, Esq. (SBN 330263)
     Brandon P. Jack (SBN 325584)
 2   CLAYEO C. ARNOLD
     A PROFESSIONAL CORPORATION
 3   865 Howe Avenue
     Sacramento, CA 95825
 4   Telephone: (916) 239-4778
     Facsimile: (916) 924-1829
     aberry@justice4you.com
 5   gharoutunian@justice4you.com
     bjack@justice4you.com
 6
     Daniel Srourian, Esq. (SBN 285678)
 7   SROURIAN LAW FIRM, P.C.
     468 N. Camden Drive, Suite 200
 8   Beverly Hills, CA 90210
     Telephone: (213) 474-3800
 9   Fax: (213) 471-4160
     daniel@slfla.com
10
     Attorneys for Plaintiff and the Proposed Class
11

12                               UNITED STATES DISTRICT COURT

13                            NORTHERN DISTRICT OF CALIFORNIA

14

15 GERARD BALIAN, on behalf of himself                Case No.
   and all others similarly situated,
16                        Plaintiffs,                 CLASS ACTION COMPLAINT
   vs.
17
   COINBASE GLOBAL, INC. AND
18                                                    JURY TRIAL DEMANDED
   COINBASE, INC.,
19
                          Defendant.
20

21

22   Representative Plaintiff alleges as follows:
23                                          INTRODUCTION
24
            1.      Representative Plaintiff Gerard Balian (“Representative Plaintiff”) brings this Class
25
     Action Complaint against Defendants Coinbase Global, Inc. and Coinbase Inc. (“Defendants”) for
26
     their failure to properly secure and safeguard Representative Plaintiff’s and Class Members’
27

28   protected personally identifiable information stored within Defendant’s information network,

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     including, without limitation, names, addresses, account data and government ID images (these
 1
     types of information, inter alia, being thereafter referred to, collectively, as “personally
 2

 3   identifiable information” or “PII”). 1

 4          2.      With this action, Representative Plaintiff seeks to hold Defendants responsible for
 5   the harms they caused and will continue to cause Representative Plaintiff and all other similarly
 6
     situated persons in the massive and preventable cyberattack purportedly discovered by Defendants
 7
     on May 11, 2025, in which cybercriminals infiltrated Defendant’s inadequately protected network
 8
     servers and accessed highly sensitive PII that was being kept unprotected (“Data Breach”).
 9

10          3.      While Defendants claim to have discovered the breach as early as May 11, 2025,

11   Representative Plaintiff and Class Members were wholly unaware of the Data Breach until they

12   learned of it in the media on May 15, 2025.
13          4.      Defendants acquired, collected, and stored Representative Plaintiff’s and Class
14
     Members’ PII. Therefore, at all relevant times, Defendants knew or should have known that
15
     Representative Plaintiff and Class Members would use Defendant’s services to store and/or share
16
     sensitive data, including highly confidential PII.
17

18          5.      By obtaining, collecting, using, and deriving a benefit from Representative

19   Plaintiff’s and Class Members’ PII, Defendants assumed legal and equitable duties to those

20   individuals. These duties arise from state and federal statutes and regulations, and common law
21
     principles.
22

23

24   1
         Personally identifiable information (“PII”) generally incorporates information that can be
25   used to distinguish or trace an individual’s identity, either alone or when combined with other
     personal or identifying information. 2 C.F.R. § 200.79. At a minimum, it includes all information
26   that on its face expressly identifies an individual. PII also is generally defined to include certain
     identifiers that do not on its face name an individual, but that are considered to be particularly
27
     sensitive and/or valuable if in the wrong hands (for example, Social Security numbers, passport
28   numbers, driver’s license numbers, financial account numbers, etc.).
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             6.      Defendants disregarded the rights of Representative Plaintiff and Class Members
 1
     by intentionally, willfully, recklessly, and/or negligently failing to take and implement adequate
 2

 3   and reasonable measures to ensure that Representative Plaintiff’s and Class Members’ PII was

 4   safeguarded, failing to take available steps to prevent unauthorized disclosure of data and failing
 5   to follow applicable, required and appropriate protocols, policies, and procedures regarding the
 6
     encryption of data, even for internal use. As a result, Representative Plaintiff’s and Class
 7
     Members’ PII was compromised through disclosure to an unknown and unauthorized third party—
 8
     an undoubtedly nefarious third party seeking to profit off this disclosure by defrauding
 9

10   Representative Plaintiff and Class Members in the future. Representative Plaintiff and Class

11   Members have a continuing interest in ensuring that their information is and remains safe and are

12   entitled to injunctive and other equitable relief.
13                                     JURISDICTION AND VENUE
14
             7.      Jurisdiction is proper in this Court under 28 U.S.C. § 1332 (diversity jurisdiction).
15
     Specifically, this Court has subject matter and diversity jurisdiction over this action under 28
16
     U.S.C. § 1332(d) because this is a class action where the amount in controversy exceeds the sum
17

18   or value of $5 million, exclusive of interest and costs, there are more than 100 members in the

19   proposed class, and at least one Class Member is a citizen of a state different from Defendant.

20           8.      Supplemental jurisdiction to adjudicate issues pertaining to state law is proper in
21
     this Court under 28 U.S.C. § 1367.
22
             9.      Defendants is headquartered and/or routinely conducts business in the State where
23
     this District is located, has sufficient minimum contacts in this State, has intentionally availed itself
24
     of this jurisdiction by marketing and/or selling products and/or services and/or by accepting and
25

26   processing payments for those products and/or services within this State.

27

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            10.     Venue is proper in this Court under 28 U.S.C. § 1391 because a substantial part of
 1
     the events that gave rise to Representative Plaintiff’s claims took place within this District and
 2

 3   Defendants are headquartered and/or does business in this Judicial District.

 4                  REPRESENTATIVE PLAINTIFF’S COMMON EXPERIENCES
 5          11.     Defendants received highly sensitive PII from Representative Plaintiff in
 6
     connection with the services and/or employment Representative Plaintiff received or requested.
 7
     As a result, Representative Plaintiff’s information was among the data an unauthorized third party
 8
     accessed in the Data Breach.
 9

10          12.     Representative Plaintiff was and is very careful about sharing their PII.

11   Representative Plaintiff have never knowingly transmitted unencrypted sensitive PII over the

12   internet or any other unsecured source.
13          13.     Representative Plaintiff stored documents containing his PII in a safe and secure
14
     location or destroyed the documents. Moreover, Representative Plaintiff diligently chose unique
15
     usernames and passwords for their various online accounts.
16
            14.     Representative Plaintiff took reasonable steps to maintain the confidentiality of
17

18   their PII and relied on Defendants to keep their PII confidential and securely maintained, to use

19   this information for employment purposes only, and to make only authorized disclosures of this

20   information.
21
            15.     As a result of the Data Breach, Plaintiff spent time dealing with the consequences
22
     of the Data Breach, which included time spent verifying the legitimacy of the Data Breach and
23
     self-monitoring their accounts and credit reports to ensure no fraudulent activity had occurred.
24
     This time has been lost forever and cannot be recaptured.
25

26          16.     Representative Plaintiff suffered actual injury in the form of damages to and

27   diminution in the value of Representative Plaintiff’s PII—a form of intangible property that
28
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     Representative Plaintiff entrusted to Defendant, which was compromised in and because of the
 1
     Data Breach.
 2

 3          17.     Representative Plaintiff suffered lost time, annoyance, interference, and

 4   inconvenience because of the Data Breach and have anxiety and increased concerns for the loss of
 5   privacy, as well as anxiety over the impact of cybercriminals accessing, using, and selling
 6
     Representative Plaintiff’s PII.
 7
            18.     Representative Plaintiff suffered imminent and impending injury arising from the
 8
     substantially increased risk of fraud, identity theft, and misuse resulting from his PII, in
 9

10   combination with his names, being placed in the hands of unauthorized third parties/criminals.

11          19.     Representative Plaintiff has a continuing interest in ensuring that Representative

12   Plaintiff’s PII, which, upon information and belief, remains backed up in Defendant’s possession,
13   is protected and safeguarded from future breaches.
14
     Plaintiff Gerard Balian’s Experiences
15
            20.     On or about May 15, 2025, Representative Plaintiff learned that his PII had been
16
     accessed because of the Data Breach.
17

18          21.     Representative Plaintiff is an adult individual and, at all times relevant herein, a

19   resident and citizen of the State of California. Representative Plaintiff is a victim of the Data

20   Breach. Defendants received Representative Plaintiff’s PII in connection with the services he
21
     received as Defendant’s customer.
22
            22.     As a result, Representative Plaintiff’s information was among the data an
23
     unauthorized third party accessed in the Data Breach.
24
            23.     Representative Plaintiff regularly monitors his credit and identity for fraudulent
25

26   activity since the Breach.

27

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            24.     Representative Plaintiff is made uncomfortable because his personal information is
 1
     out there.
 2

 3

 4                                             DEFENDANT
 5          25.     Defendants are a multinational publicly traded company operating a cryptocurrency
 6
     exchange that allows investors to buy, sell, and transfer over 250 cryptocurrencies. Founded in
 7
     2012, Coinbase is the largest cryptocurrency exchange in the United States regarding trading
 8
     volume, with over 8.4 million monthly transacting users worldwide, 245,000 ecosystem partners,
 9

10   and reported revenue of $6.3 billion in 2024.

11          26.     The true names and capacities of persons or entities, whether individual, corporate,

12   associate or otherwise, who may be responsible for some of the claims alleged here are currently
13   unknown to Representative Plaintiffs. Representative Plaintiff will seek leave of court to amend
14
     this Complaint to reflect the true names and capacities of such responsible parties when their
15
     identities become known.
16
                                    CLASS ACTION ALLEGATIONS
17

18          27.     Representative Plaintiff bring this action pursuant to the provisions of Rules 23(a),

19   (b)(2), and (b)(3) of the Federal Rules of Civil Procedure (“F.R.C.P.”) on behalf of Representative

20   Plaintiff and the following classes/subclass(es) (collectively, the “Class(es)”):
21
                    Nationwide Class:
22                  “All individuals within the United States of America whose PII was
                    exposed to unauthorized third parties as a result of the data breach
23                  discovered by Defendants on May 11, 2025.”

24
            28.     Excluded from the Classes are the following individuals and/or entities: Defendants
25

26   and Defendants’ parents, subsidiaries, affiliates, officers, and directors and any entity in which

27   Defendants have a controlling interest, all individuals who make a timely election to be excluded

28   from this proceeding using the correct protocol for opting out, any and all federal, state or local
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     governments, including but not limited to its departments, agencies, divisions, bureaus, boards,
 1
     sections, groups, counsel, and/or subdivisions, and all judges assigned to hear any aspect of this
 2

 3   litigation, as well as their immediate family members.

 4          29.     In the alternative, Representative Plaintiff request additional subclasses as
 5   necessary based on the types of PII that were compromised.
 6
            30.     Representative Plaintiff reserves the right to amend the above Class definitions or
 7
     to propose other subclasses in subsequent pleadings and motions for class certification.
 8
            31.     This action has been brought and may properly be maintained as a class action
 9

10   under F.R.C.P. Rule 23 because there is a well-defined community of interest in the litigation and

11   membership of the proposed Classes is readily ascertainable.

12
                    a.     Numerosity: A class action is the only available method for the fair
13                         and efficient adjudication of this controversy. The members of the
                           Plaintiff Classes are so numerous that joinder of all members is
14                         impractical, if not impossible. Representative Plaintiff are informed
                           and believe and, on that basis, allege that the total number of Class
15                         Members is in the thousands of individuals. Membership in the
                           Classes will be determined by analysis of Defendant’s records.
16
                    b.     Commonality: Representative Plaintiff and the Class Members
                           share a community of interest in that there are numerous common
17                         questions and issues of fact and law which predominate over any
                           questions and issues solely affecting individual members, including,
18                         but not necessarily limited to:
19                         1)   Whether Defendants had a legal duty to Representative Plaintiff
                                and the Classes to exercise due care in collecting, storing, using
20                              and/or safeguarding their PII;
21                         2)   Whether Defendants knew or should have known of the
                                susceptibility of its data security systems to a data breach;
22
                           3)   Whether Defendant’s security procedures and practices to
23                              protect its systems were reasonable in light of the measures
                                recommended by data security experts;
24
                           4)   Whether Defendant’s failure to implement adequate data
25                              security measures allowed the Data Breach to occur;

26                         5)   Whether Defendants failed to comply with its own policies and
                                applicable laws, regulations and industry standards relating to
                                data security;
27

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                6)   Whether Defendants adequately, promptly and accurately
 1                   informed Representative Plaintiff and Class Members that their
                     PII had been compromised;
 2
                7)   How and when Defendants actually learned of the Data Breach;
 3
                8)   Whether Defendant’s conduct, including its failure to act,
 4                   resulted in or was the proximate cause of the breach of its
                     systems, resulting in the loss of the PII of Representative
 5                   Plaintiff and Class Members;
                9)   Whether Defendants adequately addressed and fixed the
 6                   vulnerabilities which permitted the Data Breach to occur;
 7              10) Whether Defendants engaged in unfair, unlawful or deceptive
                    practices by failing to safeguard Representative Plaintiff’s and
 8                  Class Members’ PII;
 9              11) Whether Representative Plaintiff and Class Members are
                    entitled to actual and/or statutory damages and/or whether
10                  injunctive, corrective and/or declaratory relief and/or an
                    accounting is/are appropriate as a result of Defendant’s
11                  wrongful conduct;

12              12) Whether Representative Plaintiff and Class Members are
                    entitled to restitution as a result of Defendant’s wrongful
13                  conduct.

14        c.    Typicality: Representative Plaintiff’s claims are typical of the
                claims of the Plaintiff Classes. Representative Plaintiff and all
                members of the Plaintiff Classes sustained damages arising out of
15              and caused by Defendant’s common course of conduct in violation
                of law, as alleged herein.
16
          d.    Adequacy of Representation: Representative Plaintiff in this class
17              action are adequate representatives of each of the Plaintiff Classes
                in that Representative Plaintiff have the same interest in the
18              litigation of this case as the Class Members, are committed to the
                vigorous prosecution of this case and have retained competent
19              counsel who are experienced in conducting litigation of this nature.
                Representative Plaintiff are not subject to any individual defenses
20              unique from those conceivably applicable to other Class Members
                or the classes in their entirety. Representative Plaintiff anticipate no
21              management difficulties in this litigation.

22        e.    Superiority of Class Action: The damages suffered by individual
                Class Members are significant but may be small relative to each
23              member's enormous expense of individual litigation. This makes or
                may make it impractical for members of the Plaintiff Class to seek
24              redress individually for the wrongful conduct alleged herein. Even
                if Class Members could afford such individual litigation, the court
                system could not. Should separate actions be brought or be required
25              to be brought by each individual member of the Plaintiff Class, the
                resulting multiplicity of lawsuits would cause undue hardship and
26              expense for the Court and the litigants. The prosecution of separate
                actions would also create a risk of inconsistent rulings which might
27              be dispositive of the interests of other Class Members who are not
                parties to the adjudications and/or may substantially impede their
28              ability to protect their interests adequately. Individualized litigation
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                            increases the delay and expense to all parties and to the court system,
 1                          presented by the case's complex legal and factual issues. By contrast,
                            the class action device presents far fewer management difficulties
 2                          and provides the benefits of single adjudication, economy of scale
                            and comprehensive supervision by a single court.
 3
            32.     Class certification is proper because the questions raised by this Complaint are of
 4
     common or general interest affecting numerous persons, so it is impracticable to bring all Class
 5
     Members before the Court.
 6

 7          33.     This class action is also appropriate for certification because Defendants has acted

 8   or refused to act on grounds generally applicable to Class Members, thereby requiring the Court’s
 9   imposition of uniform relief to ensure compatible standards of conduct toward the Class Members
10
     and making final injunctive relief appropriate concerning the Classes in their entireties.
11
     Defendant’s policies and practices challenged herein apply to and affect Class Members uniformly.
12
     Representative Plaintiff’s challenge of these policies and procedures hinges on Defendant’s
13

14   conduct concerning the Classes in their entirety, not on facts or law applicable only to

15   Representative Plaintiff.

16          34.     Unless a Class-wide injunction is issued, Defendants may continue failing to secure
17   Class Members’ PII properly, and Defendants may continue to act unlawfully, as set forth in this
18
     Complaint.
19
            35.     Further, Defendants has acted or refused to act on grounds generally applicable to
20
     the Classes and, accordingly, final injunctive or corresponding declaratory relief with regard to the
21

22   Class Members as a whole is appropriate under F.R.C.P. Rule 23(b)(2).

23                                       CAUSES OF ACTION
                                             COUNT ONE
24                                             Negligence
                                   (On behalf of the Nationwide Class)
25
            36.     Each and every allegation of the preceding paragraphs is incorporated in this Count
26
     with the same force and effect as though fully set forth herein.
27

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            37.      At all times herein relevant, Defendants owed Representative Plaintiff and Class
 1
     Members a duty of care, inter alia, to act with reasonable care to secure and safeguard their PII
 2

 3   and to use commercially reasonable methods to do so. Defendants took on this obligation upon

 4   accepting and storing Representative Plaintiff’s and Class Members’ PII on its computer systems
 5   and networks.
 6
            38.      Among these duties, Defendants was expected:
 7
                     a.     to exercise reasonable care in obtaining, retaining, securing, safeguarding,
 8                          deleting and protecting the PII in its possession;

 9                   b.     to protect Representative Plaintiff’s and Class Members’ PII using
                            reasonable and adequate security procedures and systems that were/are
10                          compliant with industry-standard practices;
                     c.     to implement processes to detect the Data Breach quickly and to act on
11                          warnings about data breaches timely; and
12                   d.     to promptly notify Representative Plaintiff and Class Members of any data
                            breach, security incident or intrusion that affected or may have affected their
13                          PII.
14          39.      Defendants knew or should have known that the PII was private and confidential
15
     and should be protected as private and confidential and, thus, Defendants owed a duty of care to
16
     not subject Representative Plaintiff and Class Members to an unreasonable risk of harm because
17
     they were foreseeable and probable victims of any inadequate security practices.
18

19          40.      Defendants knew or should have known of the risks inherent in collecting and

20   storing PII, the vulnerabilities of its data security systems and the importance of adequate security.

21   Defendants knew or should have known about numerous well-publicized data breaches.
22          41.      Defendants knew or should have known that its data systems and networks did not
23
     adequately safeguard Representative Plaintiff’s and Class Members’ PII.
24
            42.      Only Defendants were in the position to ensure that its systems and protocols were
25
     sufficient to protect the PII that Representative Plaintiff and Class Members had entrusted to it.
26

27

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            43.     Defendants breached its duties to Representative Plaintiff and Class Members by
 1
     failing to provide fair, reasonable, or adequate computer systems and data security practices to
 2

 3   safeguard their PII.

 4          44.     Because Defendants knew that a breach of its systems could damage numerous
 5   individuals, including Representative Plaintiff and Class Members, Defendants had a duty to
 6
     adequately protect its data systems and the PII stored thereon.
 7
            45.     Representative Plaintiff’s and Class Members’ willingness to entrust Defendants
 8
     with their PII was predicated on the understanding that Defendants would take adequate security
 9

10   precautions. Moreover, only Defendants could protect its systems and the PII it stored on them

11   from attack. Thus, Defendants had a special relationship with Representative Plaintiff and Class

12   Members.
13          46.     Defendants also had independent duties under state and federal laws that required
14
     Defendants to reasonably safeguard Representative Plaintiff’s and Class Members’ PII and
15
     promptly notify them about the Data Breach. These “independent duties” are untethered to any
16
     contract between Defendant, Representative Plaintiffs, and/or the remaining Class Members.
17

18          47.     Defendants breached its general duty of care to Representative Plaintiff and Class

19   Members in, but not necessarily limited to, the following ways:

20                  a.      by failing to provide fair, reasonable and/or adequate computer systems and
                            data security practices to safeguard Representative Plaintiff’s and Class
21                          Members’ PII;

22                  b.      by failing to timely and accurately disclose that Representative Plaintiff’s
                            and Class Members’ PII had been improperly acquired or accessed;
23
                    c.      by failing to adequately protect and safeguard PII by knowingly
24                          disregarding standard information security principles, despite obvious risks
                            and by allowing unmonitored and unrestricted access to unsecured PII;
25
                    d.      by failing to provide adequate supervision and oversight of the PII with
                            which it was and is entrusted, in spite of the known risk and foreseeable
26                          likelihood of breach and misuse, which permitted an unknown third party
                            to gather Representative Plaintiff’s and Class Members’ PII, misuse the PII
27                          and intentionally disclose it to others without consent;
28
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                    e.      by failing to adequately train its employees not to store ger than absolutely
 1                          necessary;
                    f.      by failing to consistently enforce security policies aimed at protecting
 2                          Representative Plaintiff’s and Class Members’ PII;
 3                  g.      by failing to implement processes to quickly detect data breaches, security
                            incidents or intrusions; and
 4
                    h.      by failing to encrypt Representative Plaintiff’s and Class Members’ PII and
 5                          monitor user behavior and activity in order to identify possible threats.

 6          48.     Defendant’s willful failure to abide by these duties was wrongful, reckless and/or

 7   grossly negligent in light of the foreseeable risks and known threats.
 8
            49.     As a proximate and foreseeable result of Defendant’s grossly negligent conduct,
 9
     Representative Plaintiff and Class Members have suffered damages and are at imminent risk of
10
     additional harm and damages (as alleged above).
11
            50.     The law further imposes an affirmative duty on Defendants to timely disclose the
12

13   unauthorized access and theft of the PII to Representative Plaintiff and Class Members so that they

14   could and/or still can take appropriate measures to mitigate damages, protect against adverse
15   consequences, and thwart future misuse of their PII.
16
            51.     Defendants breached its duty to notify Representative Plaintiff and Class Members
17
     of the unauthorized access by failing and continuing to fail to provide Representative Plaintiff and
18
     Class Members sufficient information regarding the breach. To date, Defendants has not provided
19

20   sufficient information to Representative Plaintiff and Class Members regarding the extent of the

21   unauthorized access and continues to breach its disclosure obligations to Representative Plaintiff

22   and Class Members.
23          52.     Further, explicitly failing to provide timely and clear notification of the Data Breach
24
     to Representative Plaintiff and Class Members, Defendants prevented Representative Plaintiff and
25
     Class Members from taking meaningful, proactive steps to secure their PII.
26
            53.     There is a close causal connection between Defendant’s failure to implement
27

28   security measures to protect Representative Plaintiff’s and Class Members’ PII and the harm (or

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     risk of imminent harm suffered) by Representative Plaintiff and Class Members. Representative
 1
     Plaintiff’s and Class Members’ PII was accessed as the proximate result of Defendant’s failure to
 2

 3   exercise reasonable care in safeguarding such PII by adopting, implementing and maintaining

 4   appropriate security measures.
 5           54.     Defendant’s wrongful actions, inactions, and omissions constituted (and continue
 6
     to constitute) common law negligence.
 7
             55.     The damages Representative Plaintiff and Class Members have suffered (as alleged
 8
     above) and will continue to suffer were and are the direct and proximate result of Defendant’s
 9

10   grossly negligent conduct.

11           56.     Additionally, 15 U.S.C. § 45 (FTC Act, Section 5) prohibits “unfair […] practices

12   in or affecting commerce,” including, as interpreted and enforced by the FTC, the unfair act or
13   practice by businesses, such as Defendant, of failing to use reasonable measures to protect PII. The
14
     FTC publications and orders described above also form part of the basis of Defendant’s duty in
15
     this regard.
16
             57.     Defendants violated 15 U.S.C. § 45 by failing to use reasonable measures to protect
17

18   PII and by not complying with applicable industry standards, as described in detail herein.

19   Defendant’s conduct was particularly unreasonable given the nature and amount of PII it obtained

20   and stored and the foreseeable consequences of the immense damages that would result to
21
     Representative Plaintiff and Class Members.
22
             58.     As a direct and proximate result of Defendant’s negligence, Representative Plaintiff
23
     and Class Members have suffered and will continue to suffer injury, including but not limited to:
24
     (i) actual identity theft, (ii) the loss of the opportunity of how their PII is used, (iii) the compromise,
25

26   publication, and/or theft of their PII, (iv) out-of-pocket expenses associated with the prevention,

27   detection and recovery from identity theft, tax fraud, and/or unauthorized use of their PII, (v) lost
28
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     opportunity costs associated with effort expended and the loss of productivity addressing and
 1
     attempting to mitigate the actual and future consequences of the Data Breach, including but not
 2

 3   limited to efforts spent researching how to prevent, detect, contest, and recover from

 4   embarrassment and identity theft, (vi) the continued risk to their PII, which may remain in
 5   Defendant’s possession and is subject to further unauthorized disclosures so long as Defendants
 6
     fails to undertake appropriate and adequate measures to protect Representative Plaintiff’s and
 7
     Class Members’ PII in its continued possession, and (vii) future costs in terms of time, effort, and
 8
     money that will be expended to prevent, detect, contest, and repair the impact of the PII
 9

10   compromised as a result of the Data Breach for the remainder of the lives of Representative

11   Plaintiff and Class Members.

12          59.     As a direct and proximate result of Defendant’s negligence, Representative Plaintiff
13   and Class Members have suffered and will continue to suffer other forms of injury and/or harm,
14
     including but not limited to anxiety, emotional distress, loss of privacy, and other economic and
15
     non-economic losses.
16
            60.     Additionally, as a direct and proximate result of Defendant’s negligence,
17

18   Representative Plaintiff and Class Members have suffered and will continue to suffer the continued

19   risks of exposure of their PII, which remains in Defendant’s possession and is subject to further

20   unauthorized disclosures so long as Defendants fails to undertake appropriate and adequate
21
     measures to protect PII in its continued possession.
22

23                                            COUNT TWO
                                          Breach of Confidence
24                                  (On behalf of the Nationwide Class)

25          61.     Each and every allegation of the preceding paragraphs is incorporated in this Count

26   with the same force and effect as though fully set forth herein.

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            62.     During Representative Plaintiff’s and Class Members’ interactions with Defendant,
 1
     Defendants was fully aware of the confidential nature of the PII that Representative Plaintiff and
 2

 3   Class Members provided to it.

 4          63.     As alleged herein and above, Defendant’s relationship with Representative Plaintiff
 5   and Class Members was governed by promises and expectations that Representative Plaintiff and
 6
     Class Members’ PII would be collected, stored, and protected in confidence, and would not be
 7
     accessed by, acquired by, appropriated by, disclosed to, encumbered by, exfiltrated by, released
 8
     to, stolen by, used by, and/or viewed by unauthorized third parties.
 9

10          64.     Representative Plaintiff and Class Members provided their respective PII to

11   Defendants with the explicit and implicit understandings that Defendants would protect and not

12   permit the PII to be accessed by, acquired by, appropriated by, disclosed to, encumbered by,
13   exfiltrated by, released to, stolen by, used by, and/or viewed by unauthorized third parties.
14
            65.     Representative Plaintiff and Class Members also provided their PII to Defendants
15
     with the explicit and implicit understanding that Defendants would take precautions to protect their
16
     PII from unauthorized access, acquisition, appropriation, disclosure, encumbrance, exfiltration,
17

18   release, theft, use, and/or viewing, such as following basic principles of protecting its networks

19   and data systems.

20          66.     Defendants voluntarily received, in confidence, Representative Plaintiff’s and
21
     Class Members’ PII with the understanding that the PII would not be accessed by, acquired by,
22
     appropriated by, disclosed to, encumbered by, exfiltrated by, released to, stolen by, used by, and/or
23
     viewed by the public or any unauthorized third parties.
24
            67.     Due to Defendant’s failure to prevent, detect and avoid the Data Breach from
25

26   occurring by, inter alia, not following best information security practices to secure Representative

27   Plaintiff’s and Class Members’ PII, Representative Plaintiff’s and Class Members’ PII was
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     accessed by, acquired by, appropriated by, disclosed to, encumbered by, exfiltrated by, released
 1
     to, stolen by, used by, and/or viewed by unauthorized third parties beyond Representative
 2

 3   Plaintiff’s and Class Members’ confidence and without their express permission.

 4          68.     As a direct and proximate cause of Defendant’s actions and/or omissions,
 5   Representative Plaintiff and Class Members have suffered damages, as alleged herein.
 6
            69.     But for Defendant’s failure to maintain and protect Representative Plaintiff’s and
 7
     Class Members’ PII in violation of the parties’ understanding of confidence, their PII would not
 8
     have been accessed by, acquired by, appropriated by, disclosed to, encumbered by, exfiltrated by,
 9

10   released to, stolen by, used by, and/or viewed by unauthorized third parties. The Data Breach was

11   the direct and legal cause of the misuse of Representative Plaintiff’s and Class Members’ PII and

12   the resulting damages.
13          70.     The injury and harm Representative Plaintiff and Class Members suffered and will
14
     continue to suffer was the reasonably foreseeable result of Defendant’s unauthorized misuse of
15
     Representative Plaintiff’s and Class Members’ PII. Defendants knew its data systems and
16
     protocols for accepting and securing Representative Plaintiff’s and Class Members’ PII had
17

18   security and other vulnerabilities that placed Representative Plaintiff’s and Class Members’ PII in

19   jeopardy.

20          71.     As a direct and proximate result of Defendant’s breaches of confidence,
21
     Representative Plaintiff and Class Members have suffered and will continue to suffer injury, as
22
     alleged herein, including but not limited to: (i) actual identity theft, (ii) the compromise,
23
     publication, and/or theft of their PII, (iii) out-of-pocket expenses associated with the prevention,
24
     detection and recovery from identity theft and/or unauthorized use of their PII, (iv) lost opportunity
25

26   costs associated with effort expended and the loss of productivity addressing and attempting to

27   mitigate the actual and future consequences of the Data Breach, including but not limited to efforts
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     spent researching how to prevent, detect, contest, and recover from identity theft, (v) the continued
 1
     risk to their PII, which remains in Defendant’s possession and is subject to further unauthorized
 2

 3   disclosures so long as Defendants fails to undertake appropriate and adequate measures to protect

 4   Class Members’ PII in its continued possession, (vi) future costs in terms of time, effort, and
 5   money that will be expended as result of the Data Breach for the remainder of the lives of
 6
     Representative Plaintiff and Class Members, (vii) the diminished value of Representative
 7
     Plaintiff’s and Class Members’ PII, and (viii) the diminished value of Defendant’s services for
 8
     which Representative Plaintiff and Class Members paid and received.
 9
                                           COUNT THREE
10                                    Breach of Implied Contract
                                   (On behalf of the Nationwide Class)
11
            72.     Each and every allegation of the preceding paragraphs is incorporated in this Count
12

13   with the same force and effect as though fully set forth herein.

14          73.     Through their course of conduct, Defendant, Representative Plaintiff and Class

15   Members entered into implied contracts for Defendants to implement data security adequate to
16
     safeguard and protect the privacy of Representative Plaintiff’s and Class Members’ PII.
17
            74.     Defendants required Representative Plaintiff and Class Members to provide and
18
     entrust their PII as a condition of obtaining Defendant’s services.
19
            75.     Defendants solicited and invited Representative Plaintiff and Class Members to
20

21   provide their PII as part of Defendant’s regular business practices. Representative Plaintiff and

22   Class Members accepted Defendant’s offers and provided their PII to Defendant.
23          76.     As a condition of being Defendant’s direct patients, Representative Plaintiff and
24
     Class Members provided and entrusted their PII to Defendant. In so doing, Representative Plaintiff
25
     and Class Members entered into implied contracts with Defendants by which Defendants agreed
26
     to safeguard and protect such non-public information, to keep such information secure and
27

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     confidential and to timely and accurately notify Representative Plaintiff and Class Members if
 1
     their data had been breached and compromised or stolen.
 2

 3           77.     A meeting of the minds occurred when Representative Plaintiff and Class Members

 4   agreed to, and did, provide their PII to Defendant, in exchange for, amongst other things, the
 5   protection of their PII.
 6
             78.     Representative Plaintiff and Class Members fully performed their obligations under
 7
     the implied contracts with Defendant.
 8
             79.     Defendants breached the implied contracts it made with Representative Plaintiff
 9

10   and Class Members by failing to safeguard and protect their PII and by failing to provide timely

11   and accurate notice to them that their PII was compromised because of the Data Breach.

12           As a direct and proximate result of Defendant’s above-described breach of implied
13   contract, Representative Plaintiff and Class Members have suffered and will continue to suffer: (i)
14
     ongoing, imminent and impending threat of identity theft crimes, fraud, and abuse, resulting in
15
     monetary loss and economic harm, (ii) actual identity theft crimes, fraud, and abuse, resulting in
16
     monetary loss and economic harm, (iii) loss of the confidentiality of the stolen confidential data,
17

18   (iv) the illegal sale of the compromised data on the dark web, (v) lost work time, and (vi) other

19   economic and non-economic harm.

20                                         COUNT FOUR
                   Breach of the Implied Covenant of Good Faith and Fair Dealing
21                                (On behalf of the Nationwide Class)

22           80.     Each and every allegation of the preceding paragraphs is incorporated in this Count
23   with the same force and effect as though fully set forth herein.
24
             81.     Every contract in this State (California) have an implied covenant of good faith
25
     and fair dealing. This implied covenant is an independent duty and may be breached even when
26
     there is no breach of a contract’s actual and/or express terms.
27

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            82.     Representative Plaintiff and Class Members have complied with and performed all
 1
     conditions of their contracts with Defendant.
 2

 3          83.     Defendants breached the implied covenant of good faith and fair dealing by

 4   failing to maintain adequate computer systems and data security practices to safeguard PII, failing
 5   to timely and accurately disclose the Data Breach to Representative Plaintiff and Class Members,
 6
     and continued acceptance of PII and storage of other personal information after Defendants knew
 7
     or should have known of the security vulnerabilities of the systems that were exploited in the Data
 8
     Breach.
 9

10          84.     Defendants acted in bad faith and/or with malicious motive in denying

11   Representative Plaintiff and Class Members the full benefit of their bargains as originally intended

12   by the parties, thereby causing them injury in an amount to be determined at trial.
13                                           COUNT FIVE
                                       Breach of Fiduciary Duty
14                                 (On behalf of the Nationwide Class)
15          85.     Each and every allegation of the preceding paragraphs is incorporated in this Count

16   with the same force and effect as though fully set forth herein.
17          86.     In light of the special relationship between Defendants and Representative Plaintiff
18
     and Class Members, whereby Defendants became the guardian of Representative Plaintiff’s and
19
     Class Members’ PII, Defendants became a fiduciary by its undertaking and guardianship of the
20
     PII to act primarily for Representative Plaintiff and Class Members, (i) for the safeguarding of
21

22   Representative Plaintiff’s and Class Members’ PII, (ii) to timely notify Representative Plaintiff

23   and Class Members of a data breach and disclosure, and (iii) to maintain complete and accurate

24   records of what information (and where) Defendants did has and continues to store.
25
            87.     Defendants has a fiduciary duty to act for the benefit of Representative Plaintiff and
26
     Class Members upon matters within the scope of its relationship with its customers’ patients and
27
     former patients—in particular, to keep their PII secure.
28
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            88.     Defendants breached its fiduciary duties to Representative Plaintiff and Class
 1
     Members by failing to diligently discover, investigate, and give notice of the Data Breach in a
 2

 3   reasonable and practicable period of time.

 4          89.     Defendants breached its fiduciary duties to Representative Plaintiff and Class
 5   Members by failing to encrypt and otherwise protect the integrity of the systems containing
 6
     Representative Plaintiff’s and Class Members’ PII.
 7
            90.     Defendants breached its fiduciary duties to Representative Plaintiff and Class
 8
     Members by failing to timely notify and/or warn Representative Plaintiff and Class Members of
 9

10   the Data Breach.

11          91.     Defendants breached its fiduciary duties to Representative Plaintiff and Class

12   Members by otherwise failing to safeguard Representative Plaintiff’s and Class Members’ PII.
13          92.     As a direct and proximate result of Defendant’s breaches of its fiduciary duties,
14
     Representative Plaintiff and Class Members have suffered and will continue to suffer injury,
15
     including but not limited to: (i) actual identity theft, (ii) the compromise, publication, and/or theft
16
     of their PII, (iii) out-of-pocket expenses associated with the prevention, detection, and recovery
17

18   from identity theft and/or unauthorized use of their PII, (iv) lost opportunity costs associated with

19   effort expended and the loss of productivity addressing and attempting to mitigate the actual and

20   future consequences of the Data Breach, including but not limited to efforts spent researching how
21
     to prevent, contest, and recover from identity theft, (v) the continued risk to their PII, which
22
     remains in Defendant’s possession and is subject to further unauthorized disclosures so long as
23
     Defendants fails to undertake appropriate and adequate measures to protect the PII in its continued
24
     possession, (vi) future costs in terms of time, effort, and money that will be expended as result of
25

26   the Data Breach for the remainder of the lives of Representative Plaintiff and Class Members, and

27   (vii) the diminished value of Defendant’s services they received.
28
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            93.     As a direct and proximate result of Defendant’s breach of its fiduciary duties,
 1
     Representative Plaintiff and Class Members have suffered and will continue to suffer other forms
 2

 3   of injury and/or harm, and other economic and non-economic losses.

 4                                             COUNT SIX
                                           Unjust Enrichment
 5                                  (On behalf of the Nationwide Class)

 6          94.     Each and every allegation of the preceding paragraphs is incorporated in this Count

 7   with the same force and effect as though fully set forth herein. This Count is pled in the alternative
 8   to the Breach of Contract Count above.
 9
            95.     Upon information and belief, Defendants funds its data-security measures entirely
10
     from its general revenue, including payments made by or on behalf of Representative Plaintiff and
11
     Class Members.
12

13          96.     As such, a portion of the payments made by or on behalf of Representative Plaintiff

14   and Class Members is to be used to provide a reasonable level of data security, and the amount of

15   each payment allocated to data security is known to Defendant.
16
            97.     Representative Plaintiff and Class Members conferred a monetary benefit to
17
     Defendant. Specifically, they purchased goods and services from Defendants and/or its agents and
18
     provided Defendants with their PII. In exchange, Representative Plaintiff and Class Members
19
     should have received from Defendants the goods and services that were the subject of the
20

21   transaction and have their PII protected with adequate data security.

22          98.     Defendants knew that Representative Plaintiff and Class Members conferred a
23   benefit which Defendants accepted. Defendants profited from these transactions and used the PII
24
     of Representative Plaintiff and Class Members for business purposes.
25
            99.     Defendants enriched itself by saving the costs it reasonably should have expended
26
     in data-security measures to secure Representative Plaintiff’s and Class Members’ PII. Instead of
27

28   providing a reasonable level of security that would have prevented the hacking incident,

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     Defendants instead calculated to increase its own profits at the expense of Representative Plaintiff
 1
     and Class Members by utilizing cheaper, ineffective security measures. On the other hand,
 2

 3   Representative Plaintiff and Class Members suffered as a direct and proximate result of

 4   Defendant’s decision to prioritize its profits over the requisite security.
 5          100.    Under the principles of equity and good conscience, Defendants should not be
 6
     permitted to retain the money belonging to Representative Plaintiff and Class Members, because
 7
     Defendants failed to implement appropriate data management and security measures mandated by
 8
     industry standards.
 9

10          101.    Defendants failed to secure Representative Plaintiff’s and Class Members’ PII and,

11   therefore, did not provide full compensation for the benefit of Representative Plaintiff and Class

12   Members.
13          102.    Defendants acquired the PII through inequitable means in that it failed to disclose
14
     the inadequate security practices previously alleged.
15
            103.    If Representative Plaintiff and Class Members knew that Defendants had not
16
     reasonably secured their PII, they would not have agreed to provide their PII to Defendant.
17

18          104.    Representative Plaintiff and Class Members have no remedy at law.

19          105.    As a direct and proximate result of Defendant’s conduct, Representative Plaintiff

20   and Class Members have suffered and will continue to suffer injury, including but not limited to:
21
     (i) actual identity theft, (ii) the loss of opportunity to determine how their PII is used, (iii) the
22
     compromise, publication, and/or theft of their PII, (iv) out-of-pocket expenses associated with the
23
     prevention, detection, and recovery from identity theft, and/or unauthorized use of their PII, (v)
24
     lost opportunity costs associated with efforts expended and the loss of productivity addressing and
25

26   attempting to mitigate the actual and future consequences of the Data Breach, including but not

27   limited to efforts spent researching how to prevent, detect, contest, and recover from identity theft,
28
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     (vi) the continued risk to their PII, which remains in Defendant’s possession and is subject to
 1
     further unauthorized disclosures so long as Defendants fails to undertake appropriate and adequate
 2

 3   measures to protect PII in its continued possession, and (vii) future costs in terms of time, effort

 4   and money that will be expended to prevent, detect, contest, and repair the impact of the PII
 5   compromised as a result of the Data Breach for the remainder of the lives of Representative
 6
     Plaintiff and Class Members.
 7
            106.    As a direct and proximate result of Defendant’s conduct, Representative Plaintiff
 8
     and Class Members have suffered and will continue to suffer other forms of injury and/or harm.
 9

10          107.    Defendants should be compelled to disgorge into a common fund or constructive

11   trust, for the benefit of Representative Plaintiff and Class Members, proceeds that it unjustly

12   received from them. In the alternative, Defendants should be compelled to refund the amounts that
13   Representative Plaintiff and Class Members overpaid for Defendant’s services.
14
                                            RELIEF SOUGHT
15

16          WHEREFORE, Representative Plaintiffs, on behalf of themselves and each member of

17   the proposed National Class respectfully request that the Court enter judgment in their favor and

18   for the following specific relief against Defendants as follows:
19          1.      That the Court declare, adjudge, and decree that this action is a proper class action
20
     and certify each of the proposed classes and/or any other appropriate subclasses under F.R.C.P.
21
     Rule 23 (b)(1), (b)(2), and/or (b)(3), including the appointment of Representative Plaintiff’s
22
     counsel as Class Counsel;
23

24          2.      For an award of damages, including actual, nominal, and consequential damages,

25   as allowed by law in an amount to be determined;

26          3.      That the Court enjoin Defendant, ordering it to cease and desist from similar
27
     unlawful activities;
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            4.     For equitable relief enjoining Defendants from engaging in the wrongful conduct
 1
     complained of herein pertaining to the misuse and/or disclosure of Representative Plaintiff’s and
 2

 3   Class Members’ PII, and from refusing to issue prompt, complete, and accurate disclosures to

 4   Representative Plaintiff and Class Members;
 5          5.     For injunctive relief requested by Representative Plaintiffs, including but not
 6
     limited to injunctive and other equitable relief as is necessary to protect the interests of
 7
     Representative Plaintiff and Class Members, including but not limited to an Order:
 8
                   a.      prohibiting Defendants from engaging in the wrongful and unlawful acts
 9                         described herein;
10                 b.      requiring Defendants to protect, including through encryption, all data
                           collected through the course of business in accordance with all applicable
11                         regulations, industry standards and federal, state or local laws;

12                 c.      requiring Defendants to delete and purge Representative Plaintiff’s and
                           Class Members’ PII unless Defendants can provide to the Court reasonable
13                         justification for the retention and use of such information when weighed
                           against the privacy interests of Representative Plaintiff and Class Members;
14                 d.      requiring Defendants to implement and maintain a comprehensive
                           Information Security Program designed to protect the confidentiality and
15                         integrity of Representative Plaintiff’s and Class Members’ PII;
16                 e.      requiring Defendants to engage independent third-party security auditors
                           and internal personnel to run automated security monitoring, simulated
17                         attacks, penetration tests, and audits on Defendant’s systems on a periodic
                           basis;
18
                   f.      prohibiting Defendants from maintaining Representative Plaintiff’s and
19                         Class Members’ PII on a cloud-based database;

20                 g.      requiring Defendants to segment data by creating firewalls and access
                           controls so that, if one area of Defendant’s network is compromised,
21                         hackers cannot gain access to other portions of Defendant’s systems;

22                 h.      requiring Defendants to conduct regular database scanning and securing
                           checks;
23
                   i.      requiring Defendants to establish an information security training program
                           that includes at least annual information security training for all employees,
24                         with additional training to be provided as appropriate based upon the
                           employees’ respective responsibilities with handling PII, as well as
25                         protecting the PII of Representative Plaintiff and Class Members;
26                 j.      requiring Defendants to implement a system of tests to assess its respective
                           employees’ knowledge of the education programs discussed in the
27                         preceding subparagraphs, as well as randomly and periodically testing
                           employees’ compliance with Defendant’s policies, programs and systems
28                         for protecting personal identifying information;
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 1                  k.      requiring Defendants to implement, maintain, review and revise as
                            necessary a threat management program to monitor Defendant’s networks
 2                          for internal and external threats appropriately, and assess whether
                            monitoring tools are properly configured, tested and updated;
 3
                    l.      requiring Defendants to meaningfully educate all Class Members about the
 4                          threats they face as a result of the loss of their confidential PII to third
                            parties, as well as the steps affected individuals must take to protect
 5                          themselves.

 6          6.      For prejudgment interest on all amounts awarded, at the prevailing legal rate;

 7          7.      For an award of attorney's fees, costs, and litigation expenses, as allowed by law;

 8          8.      For all other Orders, findings and determinations identified and sought in this
 9   Complaint.
10
                                              JURY DEMAND
11

12           Representative Plaintiffs, individually and on behalf of the Plaintiff Class(es) and/or

13   Subclass(es), hereby demand a trial by jury for all issues triable by jury.

14

15   Dated: May 15, 2025

16
                                           By:     _/s/ M. Anderson Berry______________________
17                                                 M. Anderson Berry, Esq. (SBN 262879)
                                                   Gregory Haroutunian, Esq. (SBN 330263)
18                                                 Brandon P. Jack (SBN 325584)
                                                   CLAYEO C. ARNOLD
19                                                 A PROFESSIONAL CORPORATION
                                                   865 Howe Avenue
                                                   Sacramento, CA 95825
20                                                 Telephone: (916) 239-4778
                                                   Facsimile: (916) 924-1829
21                                                 aberry@justice4you.com
                                                   gharoutunian@justice4you.com
22                                                 bjack@justice4you.com
23                                                 Daniel Srourian, Esq. (SBN 285678)
                                                   SROURIAN LAW FIRM, P.C.
24                                                 468 N. Camden Drive, Suite 200
                                                   Beverly Hills, CA 90210
25                                                 Telephone: (213) 474-3800
                                                   Facsimile: (213) 471-4160
26                                                 daniel@slfla.com

27                                                 John J. Nelson, Esq.
                                                   MILBERG COLEMAN BRYSON
28
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                                  PHILLIPS GROSSMAN, PLLC
 1                                280 S. Beverly Drive, Penthouse
                                  Beverly Hills, California 90212
 2
                                  Tel. No.: (917) 471-1894
 3                                jnelson@milberg.com

 4                                Counsel for Plaintiff and the Proposed Class

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